                         Case 3:23-cr-02307-FM Document 1 Filed 11/06/23 Page 1 of 2
AO 442 (REV. 12/85)


                                             United States District Court                                       FILED
                                                    Western District of Texas                                Nov 6 2023
                                                       El Paso Division                                    Clerk, U.S. District Court
                                                                                                           Western District of Texas


                                                                                                     By:             cr
                                                                                                                            Deputy
USA                                                                 §
                                                                    § CRIMINAL COMPLAINT
vs.                                                                 § CASE NUMBER: EP:23-M -03570(1) ATB
                                                                    §
(1) SANTIAGO RAMIREZ-PAZ                                            §

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about November 02, 2023 in Hudspeth county, in the WESTERN DISTRICT OF TEXAS

defendant did, attempt to enter, entered, and or was found in the United States after having been previously arrested and

deported, removed, excluded or denied admission from the United States and permission to reapply for admission was

not granted by the Secretary of Homeland Security; and the Defendant failed to establish that he was not required to

obtain the consent of the Secretary of Homeland Security or the Attorney General prior to entering the United States

pursuant to 6 USC 203(3), 202(4) and 557.



in violation of Title                 8              United States Code, Section(s)       1326



                  I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts: "

The DEFENDANT, RAMIREZ-Paz, Santiago is an alien to the United States and a citizen of Guatemala, was found

in the United States on November 2, 2023. The DEFENDANT was "

Continued on the attached sheet and made a part of hereof.



Sworn to before me and subscribed in my presence,                                     /S/ CHAVEZ, JORGE
                                                                                    Signature of Complainant
                                                                                    Border Patrol Agent


November 6, 2023                                                                at EL PASO, Texas
File Date                                                                          City and State



ANNE T. BERTON                                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                                      Signature of Judicial Officer

                                                                                    OATH TELEPHONICALLY SWORN
                                                                                    AT 11:32 A.M.
                                                                                    FED.R.CRIM.P. 4.1(b)(2)(A)
                    Case 3:23-cr-02307-FM Document 1 Filed 11/06/23 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:23-M -03570(1)

WESTERN DISTRICT OF TEXAS

(1) SANTIAGO RAMIREZ-PAZ

FACTS (CONTINUED)

found approximately 5 miles west of the Fort Hancock, Texas Port of Entry, near Fort Hancock, Texas, in the Western
District of Texas. From statements made by the DEFENDANT to the arresting agent, the DEFENDANT was determined
to be a native and citizen of Guatemala, without immigration documents allowing him to be or remain in the United States
legally. The DEFENDANT has been previously removed from the United States to Guatemala, on July 3, 2014, through
New Orleans, LA. The DEFENDANT has not received permission from the Attorney General of the United States or the
Secretary of Homeland Security to reapply for admission into the United States.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.

IMMIGRATION HISTORY:

The DEFENDANT has been removed 1 time, the last one being to GUATEMALA on July 3, 2014, through NEW
ORLEANS, LA

CRIMINAL HISTORY:

NONE
